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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:07-cr-00014-MP-AK

CHRISTOPHER THOMAS QUINN,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 150, Motion for Subsistence by Christopher

Thomas Quinn. In the motion, Mr. Quinn seeks government assistance in paying for the travel

and lodging associated with returning to Gainesville for rearraignment. It appears defendant has

sufficient income, reported and unreported, to cover the cost of a round-trip bus ticket ($118.00)

plus a night's lodging in Gainesville. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion for subsistence, doc. 150, is denied.

       DONE AND ORDERED this 25th day of October, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
